Case 1:17-cr-00182-RD|\/| Document 50 Filed 09/11/18 Page 1 of

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A.o ma tRl¢v_ 02/.18) F I L E D

Judgmenl in a Criminal Case

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UNITED STATES DisTRiCT COURT cieri<, u.s. maria and

Bankruptcy Courts

 

District OfColumbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

V.
GEORGE PAPADOPOULOS Case Number: 17cr182 (RDM)
USM Numbei': 91344-083

Robert W. Stan|ey and Thomas |Vl. Breen
Defendant‘s Attomey

 

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THE DEFENDANT!
g pleaded guilty to count(s) ONE (‘l) Of the lnfOrmElliOl"i H|ed 0|'1 10/3)'20'1 7.

 

l:l pleaded nolo contendere to count(s)
which was accepted by the court.

 

l:| was found guilty on count(s)
after a plea of not guilty

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense 1 Offense Ended Count

18 u.s.c.§ wasn i=au-Si;ie",-nems taran-

 

The defendant is sentenced as provided in pages 2 through 7 of thisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

[l The defendant has been found not guilty on count(s)

 

|:l Count(s) l:l is |:l are dismissed on the motion of the Uriited States.

 

v _ It is ordered that the defend'ant_must notify the Un_ited States attorney for this district within 30 da s of_any change of name, residence,
or mailing address until_all fines, restitution,_costs, and special assessments imposed by this Judgment are fu y paid. If ordered to pay restitutiOI'i.
the defendant must notify the court and United States attorney of material changes in economic circumstances

9)'7)'2018
D ition ofJi.idgment

/A»/.¢ D. /%»»

fgna§re of Judge/

 

Rando|ph D. Moss U.S. District Judge
Name and Title of Judge

 

 

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AO 245B (Rev. 02/18) Judgment in Criminal Case
Sheet 2 _ Impn'sotiment

ludgment '_ Page -2 of
DEFENDANTZ GEORGE PAPADOPOULOS '
CA_sE NUMBER: 17cr182 (RDM)_

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

FOURTEEN (14) Days as to Count One (‘l) of the |nformation.

l:l The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

[I The defendant'shall surrender to the United States Marshal for this district:
l:l at l:| a.m. |:l p`.m. on
l:l as notified by the United States Marshal.

 

lzl The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

l:l as notified by the United States Marshal.

ij as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
\
Defendant delivered on ~ to
at , with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY U`NITED STATES MARSHAL

Case 1:17-cr-00182-RD|\/| Document 50 Filed 09/11/18 Page 3 of 7-

AO 2458 (Rev. 02)'|8) Judgment in a Criminal Case
Sheet 3 _ Supervised Release

 

Judgment-Page 3 of 4

 

DEFENDANT: GEORGE PAPADOPOULOS
CASE NUMBER: ircri 82 (RDM)
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
TWELVE (12) N|onths as to Count One (‘l) of the lnformation.

MANDATORY CONDITIONS

1_ You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance

3. You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

|:! The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check yappi‘icabi'e) v
4, |:| You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution (clreck yapplr'mble)
5. l!l You must cooperate in the collection of DNA as directed by the probation officer. (check grapph'cable)
l:l You must comply with the requirements of the Sex Offender Registratiori and Notitication Act (34 U.`S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, _work, are a student, or were convicted of a qualifying offense. (check i'fapplicabte)

7_ |:] \_’ou must participate in an approved program for domestic violence. (check grappli'cable)

Yoi.i must comply with the standard conditions that have been adopted by this court as well as with any other'conditions on the attached
page. -

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AO 2453 (Rev. 02/18) Judgment in a Cn'rninal Case
Sheet 3A _ Supervised Release

. Iudgrnent_}‘age 4 of 7
DEFENDANT: GEORGE PAPADOPOULOS
CASE NUMBER: 17cr182 (RDM)

STANDARD CONDITIONS Oii` SUFERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. Afier initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must riot knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5 You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living l
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation ocher' in advance' is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you fi'om
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change-where you work or anything about your work (such as your position or your job `
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance' is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the‘permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court. .

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you_ must comply with that instruction The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overvt`ew ofProbaiion and Supervised
Re!ease Condfti'ons, available at: www.uscourts.gov.

Defendant's Signature 7 Date

 

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- AO MSB(Rev. 02/18) .l'udgmentinaCn'minalCase
Sheet 313 _ Supervised Release

. Judgrncnt--Page _5_ of __7_
DEFENDANTZ GEORGE`PAPADOPOULOS `
CASE NUMBERZ 'lTCr182 (RDM)

SPECIAL CONDITIONS OF SUPERVISION

Community Service - You must complete 200 hours of community service Within 11 months. The- U.S. Probation Officer will
supervise the participation in the program by approving the program. You must provide written verification of completed
hours to the U.S. Probation Ofticer.

The U.S. Probation Ofiice shall release the presentence investigation report fo ali appropriate agencies iri order to execute
. the sentence of the Cour't.

Re-entry Progress Hearing - Within one hundred twenty (120) days of release from incarceration, you will appear before
the Court for a re-entry progress hearing. Pn'or to the hearingl the U.S. Probation Off'icer will submit a report summarizing
your status and compliance with release conditions. |f you are supervised by a district outside of the Washington, D.C.
metropolitan area, the U.S. Probation Office in that district will submit a progress report to the Court within 60 days of the
commencement of supervision.

Case 1:17-cr-00182-RD|\/| Document 50 Filed 09/11/18 Page 6 of 7
1510 2458 (I$;ev. 02118) Judgment in a Criminal Case
Sheet 5 - Criminal Monetary Penalties

Ji.idgment _ Page 6 of 7
DEFENDANT: GEORGE P`APADOPOULOS

CASE NUMBER: '17Cr182 (RDIV|)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JV'l`A Assessment* Fine ' _Restitution
TOTALS $ 100.00 $ $ 9.500.00 $ `
l:| The determination of restitution is deferred until . An Amended Jndgmenr in a Crr`mr'na'i Case (A024SC) will be entered

after such determination

El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ee shall receive an approximatel ro ortioned ayment, unless specified otherwise in

the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 1), all nonfederal victims must be paid
before the United States is paid.

Narne o_f' Pay__ee

 

 

Total Loss** _R_e ___t_it_i_ition¥(d)rrdered

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a . .t n .
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Priority or Percentage

      

 

 

   

 

 

 

 

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TOTALS ' $ 0.00 3 0.00

Restitution amount ordered pursuant to plea agreement $

'l`he defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and defauit, pursuant to 18 U.S.C. § 3612(g). `

|:I The court determined that the defendant does not have the ability to pay interest and it is ordered that:
l:| the interest requirement is waived for the |:l fine l:l restitution.

|:| the interest requirement for the [:] fine l___l restitution is modified as follows:

* Justice for V_ictims of Traffickin Act of 2015, Pub. L. No. 114-22. .

** Findings for the total amount o losses are required under Chapters' 109A, 1 10, 1 10A, and 1 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

Case 1:17-cr-00182-RD|\/| Document 50 Filed 09/11/18 Page 7 of 7
AO 24SB (Rev. 0*2/ 18) .ludgment in a Crimina| Case

Sheet 6 _ Schedule of payments

` _ .iudgrnent-Page ; of ___7_
DEFENDANTZ GEORGE PAPADOF’OULOS
CASE NUMBERZ 17CF'l 82 (RDM)

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A Qj Lump sum payment of $ ‘ 9'600-00 due immediately, balance due

|] notlater than ,or
m in accordance with |:| C, |:] D, |:| E, or M Fbelow; or

B l:l Payment to begin immediately (may be combined with l:l C, l:l D, or l:| F below); or

C l:l Payment in equal (e.g.. week!y, monthly, quarrer[y) installments of $ over a period of
(e.g., months oryear.r), to commence (e.g.. 30 or 60 days) after the date of this judgment; or

D l:] Payment in equal _ (e.g., weekiy, monthiy, quarterly) installments of 3 over a period of
(e.g., months or years), to commence (e.g.. 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [:] Payment during the term of'supervised release will commence within (e.g., 30 or 60 doys) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to payl at that time; or

F m Specia| instructions regarding the payment of criminal monetary penalties:

The special assessment and fine are immediately payable to the C|erk of the Court for the U.S. District Court,
District of .Co|umbia. Within 30 days of any change of address, you shall notify the Cierk of the Court of the change
until such time as the financial obligation is paid in fu||.

Unless the court ha_s expressly ordered otherwise, if this judgment imposes imprisonment, pz{ijyment of criminal monetary penalties is due during
th_e period of imprisonment All_ criminal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court. _

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l Joint and Several

Def`endant and (_jo-Defendant Names_ and Case Numbers (including defendant number), Totai Arnount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution.
[l The defendant shall pay the following court cost(s):

|:] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in_the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

